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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,              )
                                       )
                Plaintiff,             )
                                       )                   4:04CR3128
          v.                           )
                                       )
MARK R. SCHNEIDER,                     )
                                       )             MEMORANDUM AND ORDER
                Defendant.             )
                                       )



     A hearing was held before me May 27, 2005 on determining the
defendant's competence to stand trial.         Evidence was adduced, but
defendant's counsel requested additional time to obtain a psychiatric
evaluation from the Federal Bureau of Prisons or at least to learn
whether such an evaluation was conducted.          Plaintiff had no objection.
Accordingly,

     IT THEREFORE HEREBY IS ORDERED:

     1. The record in this proceeding is held open for a period of two
weeks or until defendant's counsel has learned there is no such report,
whichever first occurs.

     2. Following the receipt of the additional report, if any,
counsel are given five working days in which to provide their written
arguments by letter to the undersigned.

     3. The defendant having waived his right to speedy trial pursuant
to 18 U.S.C. 3161, and further because to require the defendant to go
to trial before this issue is decided would be a miscarriage of
justice, I conclude that the interests of the defendant in properly
determining this issue outweighs the interests of the public and the
defendant in a speedy trial. Therefore, the time between this date and
the date upon which the competency issue is promptly decided shall be
excluded from calculation under the Speedy Trial Act.

     DATED this 31st day of May, 2005.

                                  BY THE COURT:
                                  s/   David L. Piester
                                  David L. Piester
                                  United States Magistrate Judge
